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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



 UNITED STATES OF AMERICA                         )
                                                  )
                v.                                )     Criminal No. 19-10080-NMG
                                                  )
 DOUGLAS HODGE,                                   )     Leave to File Granted on 4/30/20
                                                  )
                Defendant.                        )


   DOUGLAS HODGE’S REPLY IN SUPPORT OF HIS MOTION TO MODIFY HIS
              SENTENCE TO IMPOSE HOME DETENTION

       The government’s position that Mr. Hodge must put himself in grave and potentially mortal

danger in order to satisfy Section 3582’s exhaustion requirement is not only fundamentally

illogical and inhumane, but also premised on precedent that does not account—and could not

possibly have accounted—for the unprecedented circumstances created by the COVID-19

pandemic. The exhaustion procedures set forth in Section 3582(c)(1)(A) were designed and

adopted without any ability to anticipate the extraordinary dangers that have emerged from the

global pandemic caused by COVID-19 that is now rapidly spreading through the country’s prison

system. In a manner both careless and impractical, the government seeks to rigidly enforce these

procedures in this climate notwithstanding the radically altered circumstances stemming from the

unprecedented public health crisis that is disproportionately impacting prison facilities nationwide.

The law does not mandate such an unyielding and inhumane outcome, and the government’s

argument to the contrary is wrong.

       As an initial matter, the government’s argument that the exhaustion requirement in Section

3582(c)(1) is jurisdictional relies almost exclusively on circuit court cases that were decided prior

to the enactment of the First Step Act, and thus, the exhaustion requirement at issue here. In United
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States v. Lugo, No. 19-cr-000056-JAW, 2020 WL 1821010 (D. Me. Apr. 10, 2020)—the only case

cited by the government where the court issued its ruling in the COVID-19 context—the court

noted the circuit split as to whether the limitations of Section 3582(c) are jurisdictional. But none

of the circuit decisions that Lugo identified as cases where the court had found the requirements

to be jurisdictional specifically dealt with Section 3582(c)(1)(A)’s exhaustion requirement. See

United States v. Spears, 824 F.3d 908, 912-16 (9th Cir. 2016) (district court did not have

jurisdiction to modify sentence under § 3582(c)(2) where the guideline amendment did not lower

the defendant’s guideline range); United States v. Spaulding, 802 F.3d 1110, 1124 (10th Cir. 2015)

(district court did not have jurisdiction to allow defendant to withdraw plea after sentence imposed

under pre–First Step Act Section 3582(c)); United States v. Garcia, 606 F.3d 209, 212 (5th Cir.

2010) (district court did not have jurisdiction under 18 U.S.C. § 3582(c)(2) to amend a sentence

based on Rule 11(c)(a)(C) plea).

        The other cases cited in Lugo are similarly inapposite. The Lugo court noted that while

“the First Circuit has not weighed in on the issue,” in United States v. Griffin, 524 F.3d 71 (1st Cir.

2008), “it quoted with seeming approval the Seventh Circuit’s pre-Taylor statement that ‘[Section

3582(c) limits the substantive authority of the district court . . . [and] is a real jurisdictional rule

rather than a case-processing requirement.’” Lugo, 2020 WL 1821010 at *3 (quoting Griffin, 524

F.3d at 84 (quoting United States v. Smith, 438 F.3d 796, 799 (7th Cir. 2006), overruled by United

States v. Taylor, 778 F.3d 667, 671 (7th Cir. 2015))). Notably, in Taylor, the Seventh Circuit

overruled Smith, the decision from which the First Circuit quoted, holding that “district courts have

subject-matter jurisdiction over—that is, the power to adjudicate—a § 3582(c)(2) motion even

when authority to grant a motion is absent because the statutory criteria are not met.” Taylor, 778

F.3d at 671. But even setting aside Taylor’s holding, neither Griffin nor Smith addressed the




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exhaustion requirements of § 3582(c)(1)(A): the Griffin court concluded that the requirement that

the district court correct a sentence within seven days was jurisdictional, and Smith (before it was

overruled by Taylor) concluded that the court was without jurisdiction to modify a sentence

following issuance of the Supreme Court’s decision in United States v. Booker, 543 U.S. 220

(2005).     For these reasons, Judge Talwani rejected the government’s reliance on Lugo in

addressing this same issue, squarely ruling that the “exhaustion requirements in § 3582(c)(1)(A)

are nonjurisdictional.” United States v. Guzman Soto, No. 18-cr-10086-IT (D. Mass. Apr. 17,

2020), Dkt. No. 48.

          Moreover, as Judge Talwani also recently held, the procedures set forth in Section

3582(c)(1)(A) are not mandatory and may be waived. Id. The cases cited by the government for

the contrary proposition simply stand for the uncontroversial premise that, where Congress has

provided that a statutory exhaustion requirement is mandatory, courts may not create judicial

exceptions. See Ross v. Blake, 136 S. Ct. 1850, 1857 (2016) (noting that “mandatory exhaustion

statutes like the PLRA establish mandatory exhaustion regimes, foreclosing judicial discretion”

(emphasis added)); Booth v. Churner, 532 U.S. 731, 741 n.6 (2001) (“[W]e will not read futility

or other exceptions into statutory exhaustion requirements where Congress has provided

otherwise” (emphasis added)). The government attempts to liken the exhaustion requirement at

issue here to that of the Prison Litigation Reform Act of 1995 (“PLRA”), which requires a prisoner

to exhaust his available administrative remedies before pursuing a claim in court, and which the

Supreme Court has held to be mandatory because the statute’s language “suggests no limits on an

inmate’s obligations to exhaust.” Ross, 136 S. Ct. at 1856. But what the government does not

account for here is the fact that, unlike the PLRA’s exhaustion requirement, Section 3582(c)(1)(A)

contemplates that judicial action will be taken irrespective of whether the BOP opposes the motion




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for release. Section 3582(c)(1)(A)’s procedures simply “determine whether the Defendant will

have the BOP’s assistance in bringing his motion, or not.” 1 Guzman Soto, No. 18-cr-10086-IT at

9. Ultimately, then, “nothing in the statutory scheme suggests that Congress intended to preclude

the court from exercising judicial discretion and to take into account timeliness and exigent

circumstances related to why the defendant seeks compassionate release.” Id. at 9-10.

         Further, Section 3582(c)’s provision that a defendant may move the court “suggests that

Congress understood that some requests for relief may be too urgent to wait for the BOP’s

process.” Id. The government argues that if this were true, Congress would not have “imposed a

30-day requirement at all.” Gov’t Opp’n to Motions to Modify Sentences (“Gov’t Opp’n”), Dkt.

No. 1114 at 15 n.5. Again discounting the differences between the extraordinary environment

today and the environment in which Congress acted back in 2018, the government fails to

recognize that a mere thirty-day waiting period “would have seemed exceptionally quick” at the

time of the First Step Act’s passage. United States v. Russo, No. 16-cr-441 (LJL), 2020 WL

1862294 (S.D.N.Y. Apr. 3, 2020). Extrapolating Congress’s intent to allow for relatively speedy

judicial determination of these issues to these “exceptional times” thus counsels in favor of

allowing courts to waive this requirement entirely. United States v. Haney, No. 19-CR-541 (JSR),

2020 WL 1821988, at *4 (S.D.N.Y. Apr. 13, 2020). 2


1
  The government appears to take issue with the distinction between Section 3582(c)(1)(A) and the PLRA’s
exhaustion requirement because it “overlooks the broad authority BOP has to release inmates to home
confinement—the very relief defendants seek here—without court involvement.” Gov’t Opp’n at 15 n.5. Not so;
Mr. Hodge seeks relief under Section 3582(c), which governs a court’s authority to modify a sentence after it is
imposed, either upon the BOP’s motion or upon a defendant’s motion. The fact that the BOP, under its separate
authority, is releasing hundreds of inmates with similar profiles as Mr. Hodge to home confinement, does not change
the fact that this particular statutory provision provides for judicial involvement in all motions made pursuant to it.
2
  The government suggests that Haney is “inapplicable” because it relies “on a Second Circuit decision interpreting a
judicially created, rather than statutory exhaustion requirement.” Haney in fact recognized that Section
3582(c)(1)(A)’s exhaustion procedures are statutory and conducted its analysis accordingly, ultimately concluding
that the procedures are not mandatory. See Haney, 2020 WL 1821988, at *3 (“The Court is sensitive to the fact that
the here-relevant exhaustion requirement is imposed by statute, rather than by case law. . . . Nevertheless, the Court
concludes that Congress cannot have intended the 30-day waiting period of § 3582(c)(1)(A) to rigidly apply in the
highly unusual situation in which the nation finds itself today.”).


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       Of course, in normal circumstances, as the government recognizes, the BOP “is in the best

position” to assess a defendant’s individual health circumstances and release eligibility. Gov’t

Opp’n at 14-15. Even in these ordinary circumstances, however, Congress contemplated that the

BOP may not be able to assess defendants in a sufficiently prompt manner, and thus provided a

method by which defendants may directly petition the court for a modification of their sentences.

Here, the clear intent to allow courts to make this decision in certain cases applies with extra force

in the context of the COVID-19 pandemic, especially where defendants “have inundated the BOP

with requests for release,” Haney, 2020 WL 1821988 at *4, and the BOP is also outright refusing

to conduct such assessments for defendants who have not yet surrendered. The result requested

by the government—that defendants like Mr. Hodge simply have no recourse under Section

3582—is out of line with both Congressional intent and the extraordinary, unforeseen

circumstances of the COVID-19 pandemic.

Dated: April 30, 2020                           Respectfully submitted,

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               CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1

       I, Brien T. O’Connor, hereby certify that counsel for Defendant conferred with counsel for

the government regarding this motion.

                                                               /s/ Brien T. O’Connor
                                                               Brien T. O’Connor



                                 CERTIFICATE OF SERVICE

         I hereby certify that on April 30, 2020, I filed the foregoing with the United States District
Court for the District of Massachusetts using the CM/ECF system, and caused it to be served on
all registered participants via the notice of electronic filing.

Dated: April 30, 2020

                                                               /s/ Brien T. O’Connor
                                                               Brien T. O’Connor




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